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                                                                                         Mar 17, 2021


                             UNITED STATES DISTRICT CO UR T
                             SO UTH ERN DISTRICT O F FLO RIDA
               21-20161-CR-BLOOM/OTAZO-REYES
                     CaseN o.                         -


                                       18U.S.C.j1014
                                       18U.S.C.j982(a)(2)
   UNITED STATES O F AM ERICA

   VS.

   BENJAM IN M FAEL,

                              Defendant.
                                             /

                                         IN FO RM ATIO N

          The United StatesAttorney charges:

                                   GEN ER AL A LLEG A TIO NS

          AtaIltim esm aterialto this lnform ation:

                                The Sm allBusinessA dm inistration

                 The United States Small Business Adm inistration (û1SBA'') was an executive
   branch agency ofthe United States governm entthatprovided supportto entrepreneurs and sm all

   businesses. The m ission of the SBA was to m aintain and strengthen the nation's econom y by

   enabling the establishm ent and viability of sm allbusinesses and by assisting in the econom ic

   recovery ofcom m unitiesafterdisasters.

          2.     A spal4ofthiseffol'
                                   t,the SBA enabled and provided forIoansthrough banks,credit

   unions,and otherIenders. These loanshad governm ent-backed guarantees.

                                The Pavcheck Protection Proaram

                 TheCoronavirusAidnRelief,and EconomicSecurity(ûiCARES'')Actwasafederal
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   law enacted in or aboutM arch 2020 and w as designed to provide em ergency finaneialassistance

   to the m illionsofA m ericansw ho were suffering the econom ic effects caused by the COV lD -19

   pandem ic.

                 One source ofreliefthatthe CA RES A ctprovided forw asthe authorization ofup

   to $349 billion in forgivable loansto smallbusinessesforpayroll,mortgage interest,rent/lease,

   andutilities,throughaprogram referredtoasthePaycheckProtectionProgram (diPPP'').lnApril
   2020,Congressauthorizedup to $310 billion in additionalPPP funding.
          5.     The PPP allowed qualifying sm allbusinesses and other organizations to receive

   PPP loans. Businesses w ere required to use PPP loan proceeds for payroll costs, interest on

   m ortgages,rent,and utilities. The PPP allowed the interestand principalon the PPP loan to be

   entirely forgiven ifthe businessspentthe loan proceedson theseexpenseitem swithin adesignated

   period oftim e and used a certain percentage ofthe PPP Ioan proceedsforpayrollexpenses.

                 The am ount of a PPP loan that a sm allbusiness vvas eligible to receive yvas

   determ ined by the num ber of em ployees em ployed by the business and the business's average

   m onthly payrollcosts.

                 In orderto obtain a PPP loan,a qualifying businessw as required to subm ita PPP

   loan application,w hich wassigned by an authorized representativeofthe business. The PPP loan

   application required the business (through its authorized representative) to acknowledge the
   program rules and m ake certain affirm ative cetifications. Specifically, PPP loan applications

   required the authorized representativeofthe sm allbusinessto advise ifan individualowning 20%

   or more ofthe equity ofthe business was subjectto an indictment,criminal information,
   arraignm ent, or other m eans by w hich formal charges are brought. A dditionally, PPP loan
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   applicationsrequired the authorized representative ofthe sm allbusinessto advise ifany ownerof

   the business had,in the lastfsve years,been convicted orpleaded guilty to any felony.

          8.      The SBA oversaw the PPP. However,individualPPP loanswere issued by private,

   approved lenders w ho received and processed PPP applications and supporting docum entation,

   and then m ade loans using the lenders'own funds,which were 100% guaranteed by the SBA .

   Data from the application,including inform ation aboutthe borrower,the totalam ountofthe loan,

   and the listed num berof em ployees,was transm itted by the lender to the SBA in the course of

   processing the loan.

          9.      TD Bank,N.A.,(CûTD Ba1Ak''lwasaU.S.bankwhosedepositswereinsured
   bytheFederalDepositlnsuranceCorporation (kûFDIC'').
                                 The D efendantand Related Entitv

                  DefendantBENJA M IN R AFAEL,aresidentofM iam i-D adeCounty,Florida,w as

   thepresident,registered agent,andsoleownerofBenjamin RafaelP.A., aFloridacorporation
   w ith itsprincipalplace ofbusiness in M iam i-llade County in the Southern D istrictofFlorida.

                   FALSE STA TEM EN T TO A FINAN CIA L INSTITUTIO N
                                           (18U.S.C.j1014)
          On oraboutApril8,2020,in M iam i-D ade County,in the Southern D istrictofFlorida,and

   elsewhere,the defendant,

                                      BENJAM IN R AFA EL,

   did know ingly m ake a false statem entfor the purpose of intluencing the actions of a financial

   institution,thatis,TD Banknthe accountsofw hich w ere insured by the FederalDepositlnsurance

   Corporation,in connection with a PPP loan application in the amountof $12,500 on behalfof
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 BenjaminRafaelP.A.,in thatthedefendantfalselyrepresented intheloan application submitted
 toTD BankthatnoownerofBenjaminRafaelP.A.hadpleadedguiltytoorbeeneonvictedofany
 felony w ithin the lastfive years,w hen in trtlth and in fact,and asthe defendantthen and there w ell

 knew,he had,w ithin the lastfive years,pleaded guilty to and w asconvicted ofthe felony offense

 ofconsipiracy to com m itw ire fraud,in violation ofTitle l8,United States Code,Section l014.

                                          FO R FEITU RE
                                         (18U.S.C.j982)
                The allegationsofthislnform ation are hereby re-alleged and by thisreference fully

 incorporated herein forthe purpose ofalleging forfeiture to the United States ofcertain property

 in w hich the defendant,BEN JA M IN R AFA EL,has an interest.

                Upon conviction ofthe violation of'l-itle 18,U nited States Code,Section l014,as

 alleged in this lnform ation,       defendant shall forfeit to the U nited States any property

 constituting,orderived from ,proceedstheperson obtained directly orindirectly,asthe resultofthe

 offense,pursuanttoTitle18,UnitedStatesCode,Section982(a)(2).
                lfanyoftheproperty stlbjecttoforfeiture,asaresultofanyactoromissionofthe
 defendant'
          .

                        cannotbe located upon the exercise ofdue diligence;

                       hasbeen transferred,sold to,ordeposited w ith,a third party;

                C.     hasbeenplaced beyondthejurisdictionofthecourt;
                d.      hasbeen substantially dim inished in value;or
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                         hasbeen com m ingled w ith otherpropel'ty which cannotbe divided w ithout

                        difficulty,

   the United Statesshallbe entitled to forfeiture ofsubstitute property pursuantto Title 21,United

   StatesCode,Section853(p).
          AllpursuanttoTitlel8,UnitedStatesCode,Section982(a)(2),andtheproceduressetforth
   in Title 21,U nited StatesCode,Section 853.




                                                         ''
                                                          /J).              'Jl.
                                                                               ,
                                              ARIAN A FAJARDO O RSHAN
                                              UN ITED STATES ATTORN EY

                                                          >   .
                                                    eo        #

                                               A CEE ELl ABETH M ONK
                                              ASSISTAN T UN ITED STA TES A TTORN EY
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                                             UNITED STATES DISTR ICT CO URT
                                            SO UTIIERN DISR'RICT O F FLORIDA

UNITED STATES O F AM ERICA

                                                         C ERTIFICATE O F TRIAL ATTO RNEYA
Benjamin Rafael,
                                                         Superseding CaseInform ation:
                             Defendant.         /

CourtDivisiol!:(selectOne)                               New defendantts)                Yes
?'      M iaml           Key W est                       Numberofnew defendants
        FTL              W PB             FTP            Totalnum berofcounts

                 lhavecarefully considered the allegationsofthe indictment,thenumberofdefendants, the numberof
                 probable witnessesandthelegalcom plexitiesofthelndictment/lnformation attached hereto.
                 lam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                 Courtin setting theircalendars and scheduling crim inaltrials underthe mandate ofthe Speedy Trial
                 Act,Title 28 U.S.C.Section 316l.
                 lnterpreter:      (YesorNo)
                 Listlanguageand/ordialect
                 Thiscasewilltake 0 daysforthepartiesto try.
                 Pleasecheck appropriatecategory and type ofoffense listedbelow :

                                                                (Checkonlyone)

        l        0 to 5 days                     /              Petty
        ll       6 to l0 days                                   M inor
        1lI      11to 20 days                                   M isdem .
        IV       21to 60 days                                   Felony                   /
        V        61daysand over
        6.       HasthiscasepreviouslybeentiledinthisDistrictCourt?                    (YesorNo)
         lfyes:Judge                                     caseNo.
         (Attach copy ofdispositiveorder)
         Hasacomplaintbeentiledinthismatter?             (YesorNo)            X0
         lfyes:M agistrate CaseNo.
         Related m iscellaneousnum bers:                  l9-20447-CR-S1NGHAL
         Defendantts)infederalcustodyasof
         Defendantts)instatecustodyasof
         Rule20 from theDistrictof
         lsthisapotentialdeathpenaltycase?(YesorNo)
                 Doesthiscase originatefrom am atterpending in the CentralRegion oftheU.S.Attorney'sOffice
                 priortoAugust9,2013(Mag.JudgeAlicia0.Valle)?                          Yes         No /
        8.       Doesthiscaseoriginatefrom a matterpending intheNorthern Regionofthe U.S.Attorney'sOftice
                 priortoAugust8,2014(M ag.JudgeShaniekMaynard)?                        Yes         No z
                 Doesthiscase originatefrom am atterpending in the CentralRegion oftheU.S.Attorney'
                                                                                                  sOftice
                 priortoOctober3,2019(Mag.JudgeJaredStrauss)?                          Yes         No z
                                                                     .    '
                                                                          .        )
                                                                LaceeElizabeth M onk
                                                                A ssistantU nited StatesAttorney
                                                                FloridaB arN o.100322
 tpenaltySheetts)attached
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                             UNITED STATES DISTRIC T C O URT
                             SO UTH ER N DISTRICT O F FLOR IDA

                                       PENALTY SH EET

   Defendant'sName: BenjaminRafael
   Case No:

   Count#:1

   False Statementto a Financiallnstitution

   Title 18,U nited StatesCode,Section 1014

   *M ax.Penalty:30 Years'lmprisonm ent
   iRefersonly to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,orforfeituresthatm ay be applicable.
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AO 455(Rev.01/09)WaiverofanIndictment

                                U NITED STATES D ISTRICT COURT
                                                     forthe


               United StatesofAm erica
                                                              Case N o.
                   BenjaminRafael,
                        Defendant

                                         W AIV ER O F A N IND IC TM ENT

       lunderstandthatlhave been accused ofoneorm ore offensespunishableby imprisonm entform ore than one
year. 1wasadvised in open courtofmy rightsandthenature ofthe proposed chargesagainstme.

        Afterreceiving thisadvice,Iwaivemy rightto prosecution by indictm entand consentto prosecution by
information.



(late:




                                                                          Printedzytzl
                                                                                     z;cofdefendant'
                                                                                                   stz//tprncv
